   Case 2:05-md-01657-EEF-DEK Document 8820-3 Filed 11/17/06 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANNA


In re: VIOXX PRODUCTS LIABILITY                   MDL NO. 1657
       LITIGATION
                                                  SECTION L

This document relates to:                         JUDGE FALLON

CHRIS MERSMAN, et al.                             ORDER GRANTING MOTION TO
Case No.: 2:05 CV 2327                            WITHDRAWAL AS COUNSEL



       Having reviewed the Motion to Withdraw as Counsel, and finding good cause therefore,

it is hereby ordered that attorney Joseph M. Lyon is withdrawn as Counsel on the above

referenced case. The law firm of Burg Simpson Eldredge Hersh & Jardine, PC, and its attorneys

Janet G. Abaray and Melanie S. Bailey remain as Counsel for Plaintiff in this action.



IT IS SO ORDERED.



                                             __________________________________
                                             HONORABLE JUDGE FALLON
